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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )          8:06CR184
                     Plaintiff,                    )
                                                   )
       vs.                                         )         REPORT AND
                                                   )
GREGG STEVENSON,                                   )     RECOMMENDATION
                                                   )
                     Defendant.                    )


       This matter is before the court on the motion to suppress filed by defendant Gregg
Stevenson (Stevenson) (Filing No. 37). Stevenson is charged along with co-defendants
Cessar Jiminez Aguila and Steve Eugene Encinas in the Indictment with a conspiracy to
distribute and possess with intent to distribute over 1,000 kilograms of marijuana in violation
of 21 U.S.C. § 846. Stevenson seeks to suppress evidence obtained during, or directly or
indirectly derived from, the June 21, 2006 warrantless searches of (a) Stevenson’s
residence located at 1 Oak Ridge Court, Pomona, New York, (b) Stevenson’s person, and
(c) vehicles parked at or adjacent to the property at 1 Oakridge Court on June 21, 2006.
       The court held a hearing on the motion on November 20, 2006. Stevenson was
present for the hearing along with his retained counsel, Jeralyn Merritt and Glenn A.
Shapiro. The United States was represented by Assistant U.S. Attorney William W. Mickle.
During the hearing, the court heard the testimony of Detective Sydney White (Detective
White) of the New York City Police Department (NYPD), NYPD Sergeant Dennis Rodriguez
(Sergeant Rodriguez), Deputy Kevin Manak (Deputy Manak) of the Douglas County
Sheriff’s Department (DCSD), and the defendant Stevenson. The court also received into
evidence the following exhibits: a Drug Enforcement Administration (DEA) consent to
search form (Exhibit 1); an advice of rights form (Exhibit 2); photographs of various items
seized (Exhibits 4 - 25); a copy of the Indictment in 8:06CR184 (Exhibit 26); and a hand
drawn diagram of the Oakridge cul-de-sac (Exhibit 101). A transcript (TR.) of the hearing
was filed on December 1, 2006 (Filing No. 57). Stevenson submitted a post hearing brief
on December 16, 2006 (Filing No. 59). The government submitted a post hearing brief on
January 3, 2007 (Filing No. 62).
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                                 FINDINGS OF FACT
      On June 21, 2006, Detective White was on duty working in a DEA drug task force
which was conducting surveillance of Stevenson’s residence at 1 Oak Ridge Court in
Pomona, New York, approximately thirty-two miles north of New York City (TR. 14-15).
Detective White arrived in the area of Stevenson’s Pomona residence around 8:30 a.m.
and was assisted by several other officers of the DEA task force (TR. 15). Stevenson was
a target of a drug investigation involving the seizure of 221 pounds of marihuana in
Nebraska (TR. 14). The New York DEA task force officers did not have an arrest warrant
for Stevenson but were aware that Nebraska authorities were in the process of securing
an arrest warrant for Stevenson’s involvement in a conspiracy to distribute a controlled
substance (TR. 17). At about the same time, DEA Special Agent Jeffrey Knight (Agent
Knight) was in an Assistant U.S. Attorney’s (AUSA) office in the Southern District of New
York and was in the process of preparing an affidavit to obtain a search warrant to search
Stevenson’s residence (TR. 30 - 31; 49). 1 Oak Ridge Court was a single family residence
located on a cul-de-sac (TR. 16). Detective White observed a gray Jeep vehicle and a
burgundy Lexus or Infiniti in the driveway of 1 Oak Ridge Court (TR. 16). The Jeep was
registered to Stevenson (TR. 16).
      Around 10:00 a.m., Detective White observed a green Pathfinder arrive Stevenson’s
residence (TR. 19). Detective White observed Stevenson outside in conversation with the
person in the green Pathfinder and Detective White moved his vehicle closer to observe
(TR. 19-20). When Stevenson and the person in the green Pathfinder looked at Detective
White, Detective White moved away (TR. 20). Shortly thereafter, the green Pathfinder
drove from the area (TR. 20). Around 10:30 a.m., a cable repair truck arrived at the
residence and Stevenson was observed to be engaged in conversation with the driver (TR.
20). The cable repair truck remained for awhile and left the area (TR. 21). Around 10:30
a.m., the burgundy Lexus left the residence (TR. 21). Thereafter, Stevenson was observed
walking from the residence toward a vehicle occupied by Sergeant Rodriguez who was
dressed in plain clothes and was parked at the end of the cul-de-sac about six car lengths
from Stevenson’s driveway in an unmarked black 2006 Durango (TR. 22).
      Stevenson approached Sergeant Rodriguez’s undercover vehicle and knocked on
the driver’s window at approximately 10:47 a.m. (TR. 68).        Stevenson asked what


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Rodriguez was doing in the neighborhood (TR. 68). Sergeant Rodriguez said he was
looking for a house in the neighborhood (TR. 68). Stevenson said there was a house for
sale up the block and that the neighborhood was a nice neighborhood (TR. 69). Following
this conversation, Stevenson returned to his residence and Sergeant Rodriguez moved
from this location to another location on the cul-de-sac (TR. 69).
       The officers remained on surveillance in the area into the afternoon of June 21st
(TR. 56). Sometime around 3:00 p.m., the surveillance team was advised by radio
communication from Agent Knight that an arrest warrant had been issued for Stevenson
(TR. 49). The surveillance team was waiting the issuance of the search warrant so they
could execute both the arrest warrant and search warrant at the same time (TR. 56-57).
Around 3:45 p.m., Stevenson left his residence in a white Escalade and drove parallel to
Sergeant Rodriguez (TR. 23; 70). As Sergeant Rodriguez testified, “It looked like at 3:45
he was about to leave and the gig was up.” (TR. 95). Sergeant Rodriguez radioed the
surveillance team that Stevenson was headed in Sergeant Rodriguez’s direction and for
the surveillance team to move to Sergeant Rodriguez’s location (TR. 23; 71). When
Stevenson reached Sergeant Rodriguez’s vehicle, Stevenson rolled down his driver’s
window and told Sergeant Rodriguez that Stevenson did not believe Sergeant Rodriguez
was in the area looking for a house and Stevenson was going to write down Sergeant
Rodriguez’s license plate number (TR. 70). As Stevenson appeared to be writing down the
license plate number, the other members of the surveillance team drove in and surrounded
Stevenson (TR. 71). Sergeant Rodriguez got out of his vehicle and walked to Stevenson’s
vehicle where Sergeant Rodriguez displayed his badge and ordered Stevenson to get out
of the Escalade (TR. 71). Stevenson was taken out of the Escalade and handcuffed (TR.
71). Stevenson was searched and $13,000 in U.S. currency, a wallet and ID were found
on Stevenson (TR. 25; 72-73).
       Stevenson was walked and placed in the rear of a minivan nearby which was driven
by Investigator Boykin (TR. 72). Investigator Boykin remained in the driver’s seat, and
Detective White and Sergeant Rodriguez entered the rear of the minivan with Stevenson
(TR. 26). Detective White advised Stevenson there was a warrant for his arrest for drug
trafficking from Nebraska and advised Stevenson of his Miranda rights by reading from a
DEA 13A, a Miranda rights card (TR. 26; Ex. 2). After Detective White read Stevenson the


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Miranda rights, Stevenson stated he understood the rights and agreed to talk with the
officers without an attorney (TR. 27-28). Detective White told Stevenson the officers were
in the process of getting a search warrant for his house and asked Stevenson if he would
consent to the officers searching his residence (TR. 29). Stevenson was concerned about
what the neighbors would think and about his wife and kids who were in the house (TR. 29-
30). Detective White told Stevenson that after he consented, the officers would have his
wife come outside where they would explain the situation to her and allow the children to
go across the street to a neighbor’s house (TR. 30). Stevenson gave his consent to search
the house and signed a consent to search form (TR. 31-32; Ex. 1). Detective White asked
Stevenson what the officers would find in the house, and Stevenson told them he had about
three hundred pounds of “weed,” two thousand dollars in cash; and eights guns, also
stating he was a gun collector (TR. 31). Detective White then called Agent Knight and
informed him and the AUSA that Stevenson had verbally and in writing consented to the
search (TR. 35). The AUSA told Detective White they would suspend working on the
affidavit but if Stevenson asked for an attorney or told the officers to stop searching,
Detective White was to stop the search and call the AUSA back (TR. 35).
       Detective White called Ms. Karen Lampkin (Ms. Lampkin), Stevenson’s wife, who
was in the residence, and asked her to come to the minivan where he told her that
Stevenson had consented to a search of the residence (TR. 36; 80-81). Ms. Lampkin did
not object to search, left the minivan, and took several small children across the street to
a neighbor’s house (TR. 36; 80). Detective White, Sergeant Rodriguez, Agent Harvey, and
Detective McGoldrick entered the residence and began a search of the residence (TR. 35).
At the time of the entry at approximately 4:15 p.m., Ms. Lampkin and her father were in the
residence (TR. 36). During the search, ten firearms, nine of which were loaded, were
located in the residence (TR. 38-41; Exs. 4-15). Approximately four hundred pounds of
marijuana, $593,000 in cash, approximately $289,000 in jewelry, and other drug related
items were seized (TR. 42-45, Exs. 16-25). Much of the cash was found in safe after
Detective White obtained the combination from Stevenson (TR. 103; 172). The vehicle in
which Stevenson approached Sergeant Rodriguez and vehicles in the driveway were also
searched.




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        Near the end of the search, a telephone call came to the residence (TR. 83).
Sergeant Rodriguez spoke with the person who stated he was an attorney (TR. 84). The
attorney asked what Stevenson was being charged with, where Stevenson was going to
be taken, how the officers got in the residence, and if the officers had a search warrant
(TR. 84). Sergeant Rodriguez told the caller that Stevenson had consented and that
numerous items had been recovered from the residence (TR. 84). The caller did not ask
for the search to be stopped (TR.84).
        Following the completion of the search, Stevenson was driven to the New York
division field office for the DEA task force (TR. 83;104). There Stevenson was interviewed
by Agent Knight, DEA Special Agent David Samilo (Agent Samilo) and Deputy Manak (TR.
110). Deputy Manak had traveled from Omaha, Nebraska, to New York to assist in the
investigation of Stevenson (TR. 110). Deputy Manak informed Stevenson of the Nebraska
arrest warrant and Agent Knight advised Stevenson of the Miranda rights (TR. 112). Agent
Knight read Stevenson the Miranda rights from a DEA 13A card and had Stevenson sign
a copy of the rights following the advice (TR. 112; EX. 2). Stevenson stated he understood
his rights, did not request an attorney be present, and agreed to talk with the officers (TR.
114).   The interview lasted for approximately an hour during which Stevenson was
generally cooperative and cordial, and the exchange between Stevenson and the officers
was conversational (TR. 116-117). The interview ended when Stevenson was asked to
identify various individuals who were involved in unloading marijuana at the Empire Safe
Company. Stevenson stated he did not want to give them up and asked for an attorney
(TR. 118).    Upon Stevenson’s request for an attorney, the interview was promptly
terminated (TR. 118).
        Stevenson testified he was having marital problems with his wife and had spent the
night of June 20, 2006, at his girlfriend’s house (TR. 128). Stevenson stated he arrived
home around 7:00 a.m. on June 21, 2006, had breakfast, and watched several of his sons
leave for school or a test (TR. 129). When he watched his son, Greg, drive away from the
residence around 9:00 a.m., Stevenson observed a black Durango arrive in the
neighborhood and drive around (TR. 131). After his wife left for work, Stevenson again
noticed the black Durango parked in the cul-de-sac near his residence (TR. 132).
Stevenson, now curious, walked down to the parked Durango and asked the driver whether


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he was lost (TR. 132). The driver said he was looking for houses for sale (TR. 132). After
Stevenson told the driver that there were no houses for sale on this block, the driver said
there was one for sale on the other side and he was waiting for somebody (TR. 133).
Stevenson told the driver he had not seen the Durango before and was just concerned (TR.
133). Stevenson told the driver to “have a nice day,” and walked back to Stevenson’s
house (TR. 133). Stevenson said around 1:00 p.m. he drove away from his residence in
a white Escalade and saw the Durango still in the neighborhood (TR. 135). Stevenson
drove up to the Durango and asked the driver what he was still doing in the neighborhood
(TR. 135). When the driver told him he was still looking for houses, Stevenson said he did
not believe him and began to write down the Durango license plate number (TR. 135-36).
The driver of the Durango then pulled out a badge and said “DEA,” whereupon several
other cars moved in around him (TR. 136). Stevenson was asked to get out of the car
which he did, whereupon Stevenson was patted down and handcuffed (TR. 136). About
$2,400 was removed from his pocket (TR. 136). Sergeant Rodriguez, the driver of the
Durango, told Stevenson there was a warrant for Stevenson’s arrest from the State of
Nebraska (TR. 137). When asked where he was going, Stevenson told the officers he was
going to the pet shop (TR. 138-39). The officers did not believe him and accused him of
going to meet a truck with 2,100 pounds of marijuana (TR. 138). Stevenson stated the
officers asked him if they could search his house, and he asked the officers if they had a
search warrant (TR. 140-41). Stevenson stated the officers told him they if they had to get
a warrant, they would wreck the house and send his kids to child welfare (TR. 141-42).
When Stevenson said not to get his wife involved because she had nothing to do with it,
the officers told Stevenson that if he gave them permission to search, his wife would not
be involved (TR. 143). Stevenson said he signed a piece of paper but did not recall signing
Exhibit 1 (TR. 144). Stevenson said he would not have given permission to search except
for the threats to his house, his wife, and his children (TR. 144). Stevenson stated he was
kept in the van and Sergeant Rodriguez came out and asked for the combination to the
safe in the bedroom (TR. 147). When Stevenson hesitated, the officers said they would
blow it up (TR. 147). Whereupon, Stevenson gave the officers the combination (TR. 147).
Later, Stevenson stated Sergeant Rodriguez came out of the house and asked for the
combination to the safe in the basement, and Stevenson gave him that combination (TR.
147). Stevenson recalled being taken to a DEA office and was asked by “Jeff” if Stevenson

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had been read his rights, and Stevenson answered that he had (TR. 150). Jeff read
Stevenson’s rights again to Stevenson (TR. 150). Stevenson agreed to talk with the agents
until he asked for a lawyer (TR. 151).
       Stevenson acknowledged he was 43 years of age, a high school graduate with some
college education, and an owner of a construction company and a cell phone store (TR.
155-56). Stevenson acknowledge prior arrests in Troy, New York, and Amarillo, Texas
(TR. 156-57). He further acknowledged he was convicted of bribery and sentenced to six
months imprisonment and five years of probation (TR. 156).
       The court heard the testimony of all of the witnesses and observed their demeanor
on the witness stand. In considering their testimony in relation to other evidence, the court
credits the testimony of Detective White and Sergeant Rodriguez concerning their version
of the incidents on June 21, 2006. The court discredits the testimony of Stevenson in those
respects where his testimony is in conflict with Detective White and Sergeant Rodriguez.
       The actual Indictment in this case was filed on June 21, 2006 at 4:14 p.m., Central
Standard Time shortly after the grand jury made its return to the court (Exhibit 26). The
arrest warrant for Stevenson was issued immediately thereafter. Deputy Manak testified
he was advised by DEA Special Agent Paul Orduna (Agent Orduna) around 3:00 o’clock
(Eastern Standard Time) in the afternoon of June 21, 2006, that the grand jury in the
District of Nebraska had returned a True Bill on an Indictment involving Stevenson, that
there would be arrest warrant, and that the officers in New York could arrest Stevenson
(TR. 123-24).


                                CONCLUSIONS OF LAW
                                 A. Stephenson’s Arrest
       Stephenson asserts he was unlawfully arrested because the officers did not possess
a valid arrest warrant at the time of his arrest around 3:45 p.m. (Eastern Standard Time)
on June 21, 2006, nor did they have probable cause to arrest him. The government
acknowledges Stevenson was arrested at 3:45 p.m., Eastern Standard Time, approximately
an hour and a half before the actual arrest warrant was issued in Nebraska. However, the
government argues the officers had probable cause to arrest Stevenson on the basis of the
investigation that led to the Indictment.


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       It is clear that Agent Orduna “jumped the gun” when he advised the DEA task force
team in New York that the grand jury returned a True Bill on Stevenson and that it was all
right for the New York team to arrest Stevenson since an arrest warrant was about to be
issued in Nebraska. The only basis for Stephenson’s arrest by Detective White and
Sergeant Rodriguez was that an arrest warrant had been issued in Nebraska. They were,
of course, misled and mistaken. While it can be said Stevenson would have inevitably
been arrested on June 21, 2006, the arrest of Stevenson produced an situation where
police officers searched him and the Escalade he was driving incident to his arrest.
Further, Stephenson made incriminatory statements and provided a consent to search his
residence while he was under arrest. If Stephenson’s arrest was unlawful, evidence
obtained thereafter, i.e., the evidence seized from the house and vehicles, Stevenson’s
statements made at the scene, and Stevenson’s statements made at the DEA field office,
unless purged of such taint, may be subject to suppression.
       The Fourth Amendment requires an arrest be made with a valid arrest warrant or
that a warrantless arrest be supported by probable cause. See U.S. Const. amend. IV.;
United States v. Oropesa, 316 F.3d 762, 768 (8th Cir. 2003). The government has the
burden to prove either a valid arrest warrant or probable cause existed at the time of the
arrest. See United States v. Andrews, 454 F.3d 919, 922 (8th Cir. 2006).
       “The Fourth Amendment permits warrantless arrests in public places where an
officer has probable cause to believe that a felony has occurred.” Florida v. White, 526
U.S. 559, 565 (1999). “Probable cause exists when, at the time of the arrest, ‘the available
facts and circumstances are sufficient to warrant a person of reasonable caution to believe
that an offense was being or had been committed by the person to be arrested.’” United
States v. Martinez, 462 F.3d 903, 908 (8th Cir. 2006) (quoting United States v. Kelly,
329 F.3d 624, 628 (8th Cir. 2003)). Therefore, whether probable cause existed for an
arrest must be determined at the time of the arrest.
       “Probable cause exists if the totality of the circumstances known to all officers
involved at the time of the arrest ‘were sufficient to warrant a prudent person's belief that
the suspect had committed or was committing an offense.’” United States v. Mendoza,
421 F.3d 663, 667 (8th Cir. 2005) (quoting United States v. Cabrera-Reynoso, 195 F.3d
1029, 1031 (8th Cir. 1999) (citation and internal quotations omitted) and citing United


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States v. Amaya, 52 F.3d 172, 174 (8th Cir. 1995) (totality of the circumstances); United
States v. Morgan, 997 F.2d 433, 435 (8th Cir. 1993) (court may consider collective
knowledge)). Furthermore, “[i]t reasonably cannot be doubted that, in the court to which
the indictment is returned, the finding of an indictment, fair upon its face, by a properly
constituted grand jury, conclusively determines the existence of probable cause for the
purpose of holding the accused to answer.” Ex parte United States, 287 U.S. 241, 250
(1932). However, typically, “after-the-fact grand jury involvement cannot serve to validate
a prior arrest.” Radvansky v. City of Olmsted Falls, 395 f.3d 291, 307 n.13 (6th Cir.
2005) (citing cases).
       In this case, no formal attack is made here on the composition or integrity of the
grand jury. Furthermore, the defendant makes no argument the later-issued arrest warrant
lacked a basis for probable cause. The arguments made by the defendant are that his
arrest was executed without a warrant, and the New York officers did not possess or
present independent evidence of probable cause for the arrest. There is no dispute the
defendant was arrested, at 3:45 p.m. (EST), before the indictment was returned, at 4:14
p.m. (CST). In fact, Detective Rodriguez testified he would not have arrested the defendant
but for his belief an arrest warrant had been issued.
       It is clear on the record that no valid arrest warrant existed at the time of arrest.
Moreover, the government failed to present sufficient evidence during the suppression
hearing to allow the court to make an independent determination about the existence of
probable cause at the time of arrest. However, the court need not evaluate the facts
supporting probable cause at the time of arrest because the grand jury did so. Although
the grand jury did not return the indictment until after the arrest was made, the grand jury
determined the existence of probable cause based on the same evidence which existed an
hour and a half earlier. Neither the quantity or quality of evidence changed between the
time of the arrest and the short time until the grand jury returned the indictment. The timing
of the grand jury return distinguishes this case from cases like Radvansky, where the
indictment occurred much later in time. Accordingly, the court finds it cannot be reasonably
doubted that probable cause existed, under the circumstances, at the time of the
defendant’s arrest.




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       Even assuming, arguendo, that probable cause was lacking in sufficiency, the Leon
good faith exception would allow the admissibility of evidence in this case. Under United
States v. Leon, 468 U.S. 897 (1984), evidence gathered pursuant to a warrant which later
is found to be invalid need not be suppressed if the officers enforcing the warrant relied in
good faith on its validity. In Leon, the Supreme Court held that “evidence obtained
pursuant to a search warrant should not be excluded where the officers executed the
warrant ‘with an objectively reasonable reliance on the magistrate’s determination of
probable cause.’” United States v. LaMorie, 100 F.3d 547, 555 (8th Cir. 1996). The Leon
good faith exception applies to arrest warrants. United States v. Johnson, 121 F.3d 1141,
1143 (8th Cir. 1997) (officers acted in good faith when applying for order requiring
appearance and later arrest warrant) (citing Arizona v. Evans, 514 U.S. 1, 11-17 (1995)
(Leon, good faith exception, applies to an arrest warrant); United States v. Teitloff, 55
F.3d 391, 393 (8th Cir. 1995) (officers acting reasonably and without prior knowledge of
Fourth Amendment violations used in obtaining later executed arrest warrant)).
       The defendant relies on Arizona v. Evans, which attributed the erroneous arrest to
a court employee’s failure to correct the computer database to reflect an arrest warrant had
been quashed. The defendant contends the arrest in this case was not due to a mistake
by a clerical employee, but by a police officer.       The defendant further argues the
exclusionary rules should be applied to deter such police misconduct, the type of
misconduct associated with arresting a person without a warrant. See Filing No. 59 p. 15-
16.
       Here, there is no evidence the officers acted in any manner other than with good
faith. The officers in New York started surveillance with the intent to execute an arrest
warrant and a search warrant simultaneously. The officers waited for most of the day. The
officers in New York relied upon a communication with the Nebraska officer, who was
involved in the Nebraska end of the investigation of the defendant, for information about
when the arrest warrant had been issued. The officers in New York understood the arrest
warrant had been issued by approximately 3:00 p.m. (EST), but continued surveillance to
await issuance of the search warrant. However, when the defendant approached the
officer for a second time, the officer, thinking an arrest warrant had been issued, decided
it was necessary to make the arrest at 3:45 p.m. The officers relied on the assumption the


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arrest warrant was issued, not by a magistrate judge, but after the defendant had been
indicted by a grand jury. In fact, the grand jury did determine probable cause existed to
indict the defendant, however, the indictment was not returned for nearly an hour and a
half. Under the circumstances, the court finds the officers who arrested the defendant did
so with probable cause, or in the alternative, reasonably relied upon the later-issued arrest
warrant at 3:45 p.m. (EST). Accordingly, the Leon good faith exception would allow the
admissibility of evidence in this case.


                 B. Search of 1 Oak Ridge Court, Pomona, New York
       Stevenson urges the suppression of evidence seized from his residence at 1 Oak
Ridge Court, Pomona, New York, on June 21, 2006, as being conducted without a warrant
and without a valid voluntary consent by Stevenson. There is no question that a search
warrant was being considered by the task force team, no search warrant was issued as the
task force team relied upon Stevenson’s consent to search. Further, there is no question
that Stevenson gave his permission to search his residence at 1 Oak Ridge Court orally
and in writing. The only issue is whether Stevenson’s permission, i.e., his consent to
search, was voluntary.
       “A consensual search does not violate the Fourth Amendment if the consent was
voluntarily given without coercion.” United States v. Morris, 910 F. Supp. 1428, 1446
(N.D. Iowa 1995) (internal citations omitted). The Fourth Amendment test for valid consent
to search is that the consent be voluntary, and such “[v]oluntariness is a question of fact
to be determined from all the circumstances.” Ohio v. Robinette, 519 U.S. 33, 40 (1996).
Some characteristics that aid in determining voluntariness of consent are age, intelligence,
whether an individual was under the influence of drugs or alcohol, whether an individual
was read his Miranda rights, and whether an individual had experienced prior arrests.
United States v. Hathcock, 103 F.3d 715, 719-20 (8th Cir.), cert. denied,117 S. Ct. 2528
(1997). The court can also look at the period of time that the individual was detained;
whether the police threatened, physically intimidated, or punished the individual; whether
promises or misrepresentations were made upon which the individual relied; whether the
individual was in custody or under arrest at the time of consent; whether the consent




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occurred in a public or secluded place; and whether the individual stood by silently while
the search occurred. Id.
       Stevenson asserts he was threatened with the destruction of his property, the arrest
of his wife, and the removal of his children if he did not give the officers permission to
search and the officers had to obtain a search warrant. The court has found those
assertions are not credible in light of the testimony of all of the witnesses. Stevenson was
read his Miranda rights immediately after he was arrested. Stevenson has had previous
experience with the criminal justice system by being arrested and convicted of criminal
charges. He is a middle-aged college-educated man who is an experienced entrepreneur.
In addition to his oral permission to search, Stevenson also provided his written permission
to search. Stevenson’s equivocal testimony of exactly what kind of document or paper he
signed is not credible.


                               C. Stevenson’s Statements
       Stevenson asserts his statements provided to task force officers in the minivan after
his arrest and before and during the search at 1 Oak Ridge Court and at the task force’s
field office in New York should be suppressed. Stevenson claims such statements were
not voluntary or were tainted by his illegal arrest and by the illegal search of his residence.
       The touchstone for the admissibility of a defendant’s statements is voluntariness.
Brown v. Mississippi, 297 U.S. 278 (1936). The court must look to the totality of
circumstances in determining whether or not the statements were voluntary. Mincey v.
Arizona, 437 U.S. 385 (1978); Colorado v. Connelly, 479 U.S. 157 (1986); Schneckloth
v. Bustamonte, 412 U.S. 218 (1973). In this case, Stevenson was advised of his
constitutional rights pursuant to Miranda v. Arizona, 384 U.S. 436 (1966). There is no
evidence Stevenson did not understand the advice of rights based upon the officers’
testimony, the testimony of Stevenson, or on Stevenson’s character or abilities.
       Even though Stevenson was advised of his Miranda rights, the court must examine
the conduct of the law enforcement officials to determine whether or not there was an
overreaching by law enforcement officials amounting to coercive police activity. Coercive
police conduct will render a confession inadmissible. Blackburn v. Alabama, 361 U.S.
199 (1960). In determining whether a defendant made statements voluntarily, the court


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must determine if the accused was coerced or his will was overborne. United States v.
Wilson, 787 F.2d 375, 380-81 (8th Cir.), cert. denied, 479 U.S. 857 (1986). The court
must consider the totality of the circumstances, including the specific interrogation tactics
employed, the details of the interrogation, and the characteristics of the accused.
Schneckloth, 412 U.S. at 225-26. Coercive police pressure is a predicate to the finding
that the confession is not voluntary and violates the accused’s due process rights.
Connelly, 479 U.S. at 167. However, any police questioning has coercive aspects to it
simply by reason of the confrontation. The police officer is part of the law enforcement
system that will cause a charge to be made against a suspect. The questioning by a police
officer, while uncomfortable, is not coercive per se. See Oregon v. Mathiason, 429 U.S.
492, 495 (1977).
       Considering the totality of circumstances, the court finds Stevenson to have
voluntarily waived his Miranda rights and that his statements made to the task force
officers following his arrest and while in the minivan prior to and during the search of the
residence were made voluntarily.
       Stevenson’s statements made to the task force officers at the task force field office
while being questioned by Agent Knight and Deputy Manak were made following a
rereading of Miranda rights and Stevenson’s written acknowledgment of those rights. The
court finds Stevenson’s statements to have been made voluntarily.
       Furthermore, Stevenson’s statements made at the task force field office were made
after the warrant for his arrest was actually issued by the District of Nebraska. Even,
assuming arguendo, the initial arrest in Pomona and the search of 1 Oak Ridge Court , and
the statements made by Stevenson in the minivan were excluded, the statements made
in the task force field office were sufficiently attenuated to purge such statements of any
such taint. The temporal proximity between the alleged illegalities and the making of the
Miranda advised, the presence of intervening circumstances, and the absence of flagrant
police misconduct were sufficient to purge such statements of any taint. See United
States v. Herrera-Gonzalez, 474 F.3d 1105, 1111 (8th Cir. 2007); United States v.
Ramos, 42 F.3d 1160, 1164 (8th Cir. 1994).




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       IT IS RECOMMENDED TO SENIOR JUDGE LYLE E. STROM that:
       Stevenson’s motion to suppress (Filing No. 37) be denied.


                                       ADMONITION
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) days after being served with a copy of
this Report and Recommendation. Failure to timely object may constitute a waiver of any
objection. The brief in support of any objection shall be filed at the time of filing such
objection.   Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       DATED this 27th day of February, 2007.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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